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5     MICHELLE BALESTRIERI
6
                          UNITED STATES DISTRICT COURT
                         CENTRAL DISTRICT OF CALIFORNIA
7
                               WESTERN DIVISION
8
      MICHELLE BALESTRIERI,                     ) Case No.: 2:17-cv-2159
9                                               )
                   Plaintiffs;                  ) NOTICE OF SETTLEMENT
10
            v.                                  )
                                                )
11
      BANK OF AMERICA, N.A.,                    )
                                                )
12
                   Defendant.                   )
                                                )
13                                              )

14          NOW COMES Plaintiff, MICHELLE BALESTRIERI, through attorneys,
15    WESTGATE LAW, and hereby notifies this Court that a settlement of the present
16    matter has been reached and is in the process of finalizing settlement, which
17    Plaintiffs anticipate will be finalized within the next sixty (60) days.
18          Plaintiffs therefore respectfully request this Honorable Court vacate all dates
19    currently scheduled for the present matter.
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                                       NOTICE OF SETTLEMENT
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1                                            RESPECTFULLY SUBMITTED,
2
      DATED: June 8, 2017                      WESTGATE LAW
3

4                                     By:/s/ Matthew A. Rosenthal
5
                                             Matthew A. Rosenthal
                                             Attorney for Plaintiff
6

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10                              CERTIFICATE OF SERVICE

11      I hereby certify that on June 8, 2017, I filed the forgoing document with the Clerk

12    of the Court using the CM/ECF System, which provided notice of said filing by

13    email to the following:

14    Raymond W. Berry (SBN 298438)
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17    Telephone: 415-844-1978
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19

20          By:/s/ Matthew A. Rosenthal
                   Matthew A. Rosenthal
21

22

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                                     NOTICE OF SETTLEMENT
